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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CRIMINAL NO. H-09-029-7
                                                  §
MARLON HARRELL                                    §

                          ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. I conclude that the following facts are established by a preponderance of the
evidence or clear and convincing evidence and require the detention of the defendant pending trial in
this case.

                                          Findings of Fact

[]     A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1) The defendant has been convicted of a (federal offense) (state or local offense that
               would have been a federal offense if a circumstance giving rise to federal jurisdiction
               had existed) that is

               []   a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

               [ ] an offense for which the maximum sentence is life imprisonment or death.

               []   an offense for which a maximum term of imprisonment of ten years or more is
                    prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

               []   a felony that was committed after the defendant had been convicted of two or
                    more prior federal offenses described in 18 U.S.C. § 3142(f)(1) (A)-(C), or
                    comparable state or local offenses.

       [ ] (2) The offense described in finding 1 was committed while the defendant was on release
               pending trial for a federal, state or local offense.

       [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
               of the defendant from imprisonment) for the offense described in finding 1.

       [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
               combination of conditions will reasonably assure the safety of any other person and the
               community. I further find that the defendant has not rebutted this presumption.
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[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)        There is probable cause to believe that the defendant has committed an offense

                 [X] for which a maximum term of imprisonment of ten years or more is prescribed in
                     21 U.S.C.
                            (X) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                 []   under 18 U.S.C. § 924(c).

       [X] (2)        The defendant has not rebutted the presumption established by finding 1 that no
                      condition or combination of conditions will reasonably assure the appearance of
                      the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1) Defendant is accused of conspiracy to possess with intent to distribute and possession
               with intent to distribute 500 grams or more of cocaine in violation of 21 U.S.C. §§ 841
               and 846.

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the appearance of the defendant as required.

       [X] (4)I find that there is no condition or combination of conditions set forth in 18 U.S.C.
               § 3142(c) which will reasonably assure the safety of any other person or the
               community.

                             Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establishes by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and by

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clear and convincing evidence that no conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a 34 year old United States citizen. He lives in Houston with his mother
                and sister. He has two daughters with his ex-wife with whom he shares joint custody.
                His ex-father in law lives in Columbia and he has friends in Costa Rica. He reports
                that is passport was stolen several months ago. He has been employed by United
                Parcel Service for 4 years. He admits regular marijuana use.

        2.      Defendant is accused of conspiracy to possess with intent to distribute and possession
                with intent to distribute 500 grams or more of cocaine in violation of 21 U.S.C. §§ 841
                and 846.

        3.      Defendant’s criminal history includes prior felony convictions for possession of crack
                cocaine and marijuana. He is currently facing state charges stemming from the same
                facts as this case.

        4.      Defendant has not rebutted the statutory presumptions that he is a flight risk and a
                danger to the community.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court or the safety of the community. Detention is
                ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on November 2, 2009.




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